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P R O B 35          ORDER TERMINATING SUPERVISED RELEASE
                          PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                        )
                                                )
                           vs.                  )     Docket Number: 1:00CR05252-02 REC
                                                )
TRENTON DARRALLE BLANTON SR.                    )
                                                )


On October 9, 2001, the above-named was placed on supervised release (TSR) for a period
of 5 years after being convicted of Conspiracy to Distribute Cocaine. The offender was
sentenced to 70 months custody of the Bureau of Prisons (BOP). On October 25, 2004, the
offender was released on TSR and has been supervised by the Fresno Office since that time.
While on supervised release, the offender has complied with the rules and regulations of
supervision. He satisfied his special assessment and has maintained full-time employment
in the telemarketing field. Therefore, it is recommended that he be discharged from
supervision.

                                 Respectfully submitted,

                                    /s/ Scott J. Waters

                                   Scott J. Waters
                        Senior United States Probation Officer

Dated:         September 24, 2007
               Fresno, California


REVIEWED BY:          /s/ Bruce A. Vasquez
                     Bruce A. Vasquez
                     Supervising United States Probation Officer



                                                                                  R ev. 03/2005
                                                                                 P R O B 35.M R G
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Re:   BLANTON, Trenton D.
      Docket Number: 1:00CR05252-02 REC
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.




IT IS SO ORDERED.

Dated: October 11, 2007                     /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




                                                                                  R ev. 03/2005
                                                                                 P R O B 35.M R G
